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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

NATHAN HOOPES and                              )
DEVON HOOPES,                                  )
                                               )
               Plaintiffs,                     )
                                               )
                       v.                      )         CASE NO.: 1:10-cv-00365-RL-RBC
                                               )
GULF STREAM COACH, INC., and                   )
NORCO INDUSTRIES, INC.                         )
                                               )
               Defendants.                     )

        DEFENDANT GULF STREAM COACH, INC.’S MOTION TO BAR
                 PLAINTIFFS’ EXPERT TOM BAILEY


       Defendant Gulf Stream Coach, Inc., by counsel, respectfully moves the Court to bar

Plaintiffs’ purported expert Tom Bailey’s report and to bar Mr. Bailey from testifying in this matter.

In further support of the same, Defendant files concurrently herewith “Defendant Gulf Stream

Coach, Inc.’s Memorandum in Support of its Motion to Bar Plaintiffs’ Purported Expert Tom

Bailey.”

                                                          Respectfully submitted,


                                                          HUNT SUEDHOFF KALAMAROS LLP
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                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that on the 7th of August, 2015 I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent notification of such
filing to the following: James M. Wherley, Thomas W. Connors, Robert B. Preston, III, and Ronald
L. Burdge.

                                                      /s/Lyle R. Hardman
                                                        Lyle R. Hardman         #16056-49




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